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                                                            UNIT
 8   KROHN & MOSS, LTD.
                                                                             O OR
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12   Attorneys for Plaintiff
     MICHELE O’HANLON                                                   N                F
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15                                     UNITED STATES DISTRICT COURT
16                                    NORTHERN DISTRICT OF CALIFORNIA
17                                            SAN JOSE DIVISION
18

19   MICHELE O’HANLON,                                   Case No. 5:15-cv-02603-EJD
20                       Plaintiff/Counter-Defendant,    STIPULATION OF DISMISSAL WITH
                                                         PREJUDICE
21            v.

22   OPORTUN FINANCIAL CORPORATION f/k/a
     PROGRESSO FINANCIERO,
23
                         Defendant.
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                                                          STIPULATION OF DISMISSAL WITH PREJUDICE
     24437502v.1
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                                                   35 Filed 03/11/16
                                                            03/10/16 Page 2 of 2



 1            Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), plaintiff Michele O’Hanlon and

 2   defendant Oportun Financial Corporation, through their respective counsel of record, hereby stipulate

 3   and agree that this action shall be, and is, dismissed WITH PREJUDICE, and all parties shall bear their

 4   own attorneys’ fees and costs.

 5            IT IS SO STIPULATED.

 6            The Clerk shall close this file.
     DATED: March 10, 2016                                   Respectfully submitted,
 7
                                                             SEYFARTH SHAW LLP
 8

 9
                                                             By: /s/ Joseph A. Escarez
10                                                               Eric R. McDonough
                                                                 Joseph A. Escarez
11
                                                                 Attorneys for Defendant
12                                                               OPORTUN FINANCIAL CORPORATION
13

14   DATED: March 10, 2016                                   KROHN & MOSS, LTD.
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16                                                           By: /s/ Corinne Orquiola
                                                                 Corinne Orquiola
17
                                                                 Attorneys for Plaintiff
18                                                               MICHELE O’HANLON
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                                                                 STIPULATION OF DISMISSAL WITH PREJUDICE
     24437502v.1
